C1 JO | o8ed

ysuojse Aq poleusisap ose youuosied eBay] pue sAoulony

ydjopny “W Pied. iN
SUOISSNOSIP JUSUS]I}}OS| = UepIo¢ UMPC, SWIE[NOD MaIPUY,, -JO]aJUlopyy pnpoid YOM
OJ JaSUNOD WO] UOTVOIUNWIWOD [IeUIg) joURl, SUOUIE] pORYSIP|, °99 “Iayleg Areyoez,. sulon yey] urd Cp:7 €ZOT/PL/L SUOTBOTUNUIWOD WdT]D - Aamopyf?
ydjopny “W piraed. ]
SUOISSNOSIP JUSUUSTIJOS| — URPIOC UMEC], SUIE[NOD MOIPUY, o|ojUlspy] yonpolg s10\0
OJ JasUNOS WO uoROTUNWUWIOS [ew youes, 29 SUOWMRL] JORYOIP, ‘SUIOD Ye] Joyseg Areyoez,.| “Wee 6P: 11 €ZOZ/PL/L SUONROHINUIWIOZ JUsT]D - AsWONY e
SUOISSNOSIP JUSII9S a1 fosuNod WO jonlpold SHOALS
JUSUTYORIIE YIM UOTOTUNUILOS [IEW UOULTB]H] JOBYOIPl,, 199 ‘suUIOH Ry Joygyuropy jouer, | “wd pors CZOZ/T L/L SUOMBOMUNUIWOZ JUsT[D - ABWONY
SUOISSNOSIP JUSUIS]}19S O41 JOSUNOD WO yonpolg 310 A
qUSWIyOeye YIM UOTLOTUN UID [ew JoyAJUlopy jouer, Joyreg Areyoe7,| “wd 0S:Z1 EZOZ/L VL SUOTBOTUNUIWOD JUsT{D - Aswo} YO
SUOISSNOSIP JUSS 31 [OSUNOD WO UeplOf UMBC, “WR[NOD MAIPUY, “UOLILL] jonpolg yO AAAI
JUSUTYO’ITE YM UOIOTUNLIWOS [IEW [2UDIPAL,, 199 fsulon yak SIayseg Areyorz,, Joyapulapyy youes,.| “We BTS EZOT/L U/L SUOTIRSTUNUIWOD yWOTTD - ABWIONY o
SUOISSNOSIP JUSWA]OS OI [OSUNOS WO, JONPOld YOAV E
JUSUTYORHe YIM UOTTEOTUNWIWOD [IEW uOsLIogoy-AIUaH] YIOG,. SUIOH IR] “Wd 97'S EZOZ/OL/L SUOTROTUNUIWUOD JUsTTD - ABUIOLLY
SUOISSNHOSIP JUSUIS]HI0S 31 [OSUNOS WO] UBPJOL UMBC], SURINOD MOIPUY,, “JIU JONPold YOM}.
WAaWYORYe YIM UOTeoTUNUTWIOS [IEW] Joues, UOWEP] JaVYyoI,, 199 Wayeg Aleyoez,, SUIONH WR, “wed 9S: SZOZ/OL/L UOBOTUNUIWIOD JWUOT]D - AoWONWIN
SUOISSNOSIP JUDWOI}IES a1 JasuNOD WOE uepsof UME, ‘WR[NOD MaIpUY,, ‘JopeyUlapsy yONPOLd YIOM iS
JUDLUYORIIS YIM UOTBSTUNUIWOS [IEW youeys, SUOWIRL] POBYSIALy, 199 {suUIOD yey] Joyeg Areyse7,,| “urd Sty €ZOZ/OL/L SUOTIBOTUNUIWIOD JUaT]D - AsWOIT WG
SUOISSNOSIP JUSWITOS 91 JOSUNOD WOH. UBPJOS UME, -We[NOD MaIPUY, Jo}PUlOpyy ynpolg yO Ay
JUSTUYORIIS YIM UOLPOTUNUILIOD [IBWI] = JOURL, SUOWIRE [OBYoIA), 100 “soyreg Areyoez,. SUIOH WIV] «urd OSip EZOZ/OL/L SUONROIUNUIWOD JOT[D - AWOL y B
‘UBplor iL
SUOISSNOSIP JUSWOTES O1 JOsSUNOD WO, UMPC, ‘WR[NOD MaIpPUY,, 100 Yayapulapy JONPOLY YIOAA
JUSTUYORIIe YM UOMeOTUNWUIOD [IEW yours, SUOWNRY [SeYPIfA[, ‘SUIOD yseP| Joyseg Areyoe7,| ‘wed opp CZ0Z/OL/L SUONROIUNUIWIOD JOT - ASWION Vy
sjsanbos AISAOOSIP UOWeH (Seyi. pNpPolg WOMDO
ai [asunos WOg uoTeoTUNWIWOD [rewWg 209 [SUIOD) MARA] SuOsLeqoy ATUSH-YPgy, suo yey} “urd 97:6 €7Z0Z/E/8 SUOTIBOTUNWIWIOD JUST[D - AQUI], QI
SUOISSNOSIP JUSWS|N9S 31 JoSuNOD WON PONPOId YOMIE
JUOWUYORIIE YM UOT}BOTUNUIIOD [Tew uosyaqoy-Alusy Weg. SUIOLT NIV) “We 66:8 CZOZ/TI/L SUOTJROTUNUIIOZ yWar[D - Aduoyy
SUOISSNOSIP JUBWIO[ES OJ JasuNOS WY yonpold WOME5
JUSWUYORITE YJIM UOTEOTUNWIUOS [IeUg UOULRLY [OBYOIJAL, 199 fsUIOH yey JOapulopyy jouer, | “wd pO:S EZOZ/TV/L SUONBOIUNUILUOZD JUaT]D - AWC} Y S
SUOISSNOSIP JUSWO]}ES oJ JosuNOD WOW PNPOLY YO!
WUOUIYORIE YIM UONPOTUNUIWOD [rewIy JayJUloTy yours, Joyseg Areyoe7,| “wed QS:Z1 EZOZ/T U/L SUONROTUNUWIWOD JUaT]D - ABWIOITY
Armbut p?
BIPSUl 31 JASUNOD O} UOHBOTUNWUOD JIeUTY Joyreg Areyoe7,, ‘1a]fayulopy yours, SUIOH IR] «wed OPE EZOZ/IZ/L uoQRsIUNUTUOD JUAT{D - AaWON YO
SUOISSILUWIOS UOT}D9]O AJUNOD IOJ ssao0id RH
WOOD UO sowsw Jo syeip 91 Jasunod 0} yosiey JONPOLg YO AA >
SJUSWIYORI]IV YIM UOTPOTUNUIUOD [Tew OIL 90 “loyleg Areyoez,, “Ioyayulopy jouer, SUIOH Ye] “We [$8 €ZOZ/OZ/L SUONBOIUNUIWOD yWaI[D - Aawopy Lt
SUOISSIUMUIOD UOHDa]9 AJUNOD Joy ssaooid IN
WOOD UO soulsw Jo syeip o1 asunod 0} yosiey yonpoig yom?
SJUSWYORYe YIM UOTBOTUNUIWOD [ew ALL 100 layed Aleyoez,, “Iayfayulayyy JoueL,, SUIODH ye] «urd Gp:8 CZOZT/6 L/L SUOTVOIUNUWIWOD WwdT]D - AsWIOIV ie
HONMLINSIG] ISOPTALIg Oy Lewy WO. eM ys 918q addy asoplAlid

wet “CW 'O'd'S'N “6€010-A9-0Z:€ ‘ON ‘70 Ja aaT UIT “4 ‘JO 18 dOVVN ay) fo aouasafuoD aassauua

(PastAsyY) €707/S0/60 807T S8optAtig [eJUsIe[ddng ,syuepuayoq

G1 JO ¢ ode

ysluejse Aq poyeusisap oze Jouuosied [ea] pue sAowlony

o

st

~)

sOvd rs

UOHBIOJSAI UO]I JO SIP oJ [9suNOd oO} yONPOlg WOME

S}USWIYORNe YIM UOTBOITUNUIWIOD [IeUIg] Wesiep] o1p “Jayleg Areyoez,, “alpayulepy jours, suIOn ye} urd £15 €ZOTZT/OZ/L {UONBOTUNUIWIOD JWweT[D - Aewoy yi

SUOISIADI Ssa001d E,

pue WIJ YOO Jo syesp a1 [asunoo PONPOL YO AA [CS

0] JUSUTIENe YIM uOHeoTUNUITWOD [IEW uosyaqoy-Alusy] Weg, sulOn yey] «urd 61:8 €ZOZ/61/L SUOHBOIUNUIUOZ) JUSTO - cawiony)

SUOISIASI a

ssao0id YOD Jo syeip oJ Jasunos Oo} pnpoig WOMB

sJUSWIYOR}e YIM UOTeOTUNUIWIOS [ew uos}aqoy-AlUsH eg. SUIOLD Wey] “WB [$78 SZOZ/IZ/L SUOTBOTUNUTWIOD JUST - ABUION YN

SUOISIAGI Ssa00id E>

YWOD Jo Slips pue syerp a1 jasunoo Woy yonpoig YAO AS
SUSTUOeE YUM UOTZOTUNWIWOS [IeUIA] §=yoSIeY LL 199 “Jo |payUlopyy yous, SSUIOH yey Joyreg Areyoez7,| “wed ¢¢:p CZ0Z/OZ/L SUOHBOTUNUITWIOD JUaT[D ~ AsUIONY

SUOISIASI

ssao0id YOQD Jo syerp a1 Jasunod 0} yosiey yonpoig 340 AWN

S}USUYORIITE WLM UOTPOTUNUIUIOS [Tew OL] 190 {IayayUlopy jouer, Loyeg Areyoez,, suloy yey] ‘ud 6F:8 CZOZ/6L/L SUONROTUNUIWOD UST][D - Aawiony{O

Aumbut Welnod MoIPUuy,, yONpolg YIOMTS

BIPSUW! O41 [BSUNOD O} UOTJROTUNUIUIOS [IEW ‘aypayulepy jours, 199 LlIoyreg Areyoez,, SUIODN We] “wd 60: €Z0Z/SZ/L SuOHeoTUNUTWIOZ yUsT[D - AsuIOyW WI

Alinbul BIpoul JONPOTg YOM Fy

a1 JasuNOS WO UOYeOTUNUTOS [ew JOyOPUIpy] youRs,, 109 fsULOD yey wejnoy maipuy,| “wed 7S:7 EZOT/S7/L ‘UoHROTUNWIWOD JATTD - AeWOPB YT

SUOISIAGL AdI[Od JOT SOWA

UOHVIO]SAI UOT] JO SYRIP oJ [9SUNOD 0} PONPOI YOMby
s}USUTpSe Ne YIM WOTBOTUNWIWIOS [ewig ppog Maipuy,, SUIOL) MIVA] “WR € 1:8 €ZOZ/TC/L SUOTBOIUNWUWIOZD JwUAT[D - AoWOn Wid
SUOISIAAI ADI[Od JOY SOVA RO
UOILIOJSAL UOAJ JO SYBIP o1 [aSUNOD 0} jonpolg OME
SUSUR Te YIM UONPROTUNUIWOS [rewrg JOAJUlopy Jouel,, SSUIOH yey Joyseg Areyoez,| ‘wd £¢:1 €Z0TZ/OZ/L SBOnROTUNWWOD ywUsT[D - AauO}yy DL
SUOISIAaL AdTTOd JOT SOVA KK
UOIMLIO}SSI UOIA} JO SYRIp a1 [OsuNOd 0} PONPOLY YOM S
SJUSUIYORI}Y YIM UONROTUNUIWOD [Tew Joyayulspyy jouer, ‘royseg Aeyorz,, SUIOD Ye] “we'd 70:9 €Z0Z/OZ/L SuOTBOTUNWWIOD WwaITD - Adul0I yA
SUOISSNOSIP JUSTHATIIS 91 [BSUNOD WO PORPOLY JOA
SJUSUIYILIIS YM UONCOTUNUIWOD [TRU Joyreg Areyor7,, SUIOD WIR] “wd SO:7 EZOZ/PU/L SUOnROIUNUIWIOTD JUSTO - AWOL WD
SUOISSNOSIP JUSWS[HIES O1 [OSUNOD WO JNPJULIPY JONPOI YOM, 8
SUSUR YM UOCOUNUIUIOS [Tew] JOUR’, ‘SUIOH We] 199 SuosLagoy-Aluayy YIOg., Joyseg Areyoez7,,| “wed 70:71 €Z0Z/FU/L SUOTROTUNLUWOD JUSTO - Aausonyy
SUOISSNOSIP JUSUNAT}AS O1 JOSUNOD WON yonpoig WOM Ss
SJWSWYORY YIM UORHROIUNUIWIOS [eur SSUIOD WY 109 “royseg Ayeyoez,,| uospaqoy-Arusy ueg,| SUI SILL EZOZ/PL/L SUOHROIUNUIWOD ysT[D - ABWIONY RP
SUOISSNOSIP JUSWTHOS OJ [OSUNOD WO pNpolg OMAN
SPUSUIYSLIFE YIM UOTPOTUNUIUOD [TRU uosyagoy-AlueH Yiegs suloy yey] “wd OS:€ EZOZ/EL/L SUOTIEOTUNUTWO?) JUAT]D - kowonyt?
SUOISSNOSIP JUSUISTHIES OJ JaSUNOS WO yonpold YIO A FA
SJUSUIYORIIE YIM UOTOTUNUIUIOD [LEW JO} [IJULSPy] JOURL, 199 [sUIOD yey Joyseg Areyoez,| “wird [€:7 €ZOZ/EL/L SUONROTUNUIWOZ) JUST]D - Aawionyfs

wel ‘CW O'd'S'N “6€010-A9-0Z:€ ‘ON “70 Ja aT UDI ‘A ‘10 12 dOVVN ay) fo aouadafuoD aassouua

(PESLASY) €ZOZ/S0/60 B07] oBepLALIg [eJUoWe|ddng sjuepusyeq

CI Jo € ode

ysusyse Aq poleusisap ore jouuosied jesoy pue sAowony

st

SUOISSNOSIP JUSWIO]}}9S OI [OSUNOD yONPOLg YAO A,
WO, pue O} UONRITUNWIWOS [TEU JOYIUlapy yours, Joyreg Areyoez,| “Ure Ser] EZOT/PI/L SUOTBOTUNUIWIOD JUSI[D - AsWO}} YPO
SUOISSNOSIP JUDUID]IIOS O1 JasuNod yONPOI IO AH:
Woy pue Oo} UOI}eOTUNWAWOS [eu JoyPJUlopy yours, Joyseg Areyoe7,| “urd 60:9 €Z0Z/S/L UOTBOTUNWIWOD JueT{D - AewoyyiD
SUOISSNOSIP JUSUIDTI}OS OJ JasuNod JONPOIY FIOM, 2
WoO]. pus oj uoTyesTUNWIWOS [reUlg Joyieg Areyoe7,, Joyoyulopy youer,| “ad 10:9 €ZOZ/S/L SUOTVOTUNUTWIOZ JUSTO - Aourony FS
SUOISSNOSIP JUSUIDTIIAS O41 JASUNOD JONPOA FIOM lo
WOd, pues 0} UOTeOTUNUIWIOS [reUr JayoPUIOpy jouer, Joyeg Areyoe7z,| “urd go:g €Z0Z/S/L SUOTBOIUNWIWIOD JUDITD - AOWIOITW
sjsonbos AIQAODSTP a4 [OSUNOD pPNpPoOlg WOMB

WOY. pue 0} UOTeOTUNUIWOS [Tew JoyaJulopy jouer,|  uosLaqoy ArusH-Wjog,| “wd 60:9 €Z0Z/E/8 SUOTJBOTUNUIUWIOZ) WUAITD - AsUIOIT WOO
sjsonbax AIaA0osIp UOULIBET [SPY yONPOIg IO e

a1 JesUNOS WOT UOTPeOTUNUIWOS [Tew 209 SSUIOLD) WRIA] “UOSLaqoY AIUOH-YIOg, Joyayulopy joues,; “wd 97:5 €Z0Z/E/8 SUOTBOTUNUIWIOZ JUSI[D - Aowiony (©

sopome sou

pue sasvo [eso] SurpseSol josunoo Woy yONPOLY YOM
STUOMORYS YL UOTOTUNWAWOO [Tew JoyayUlspy jouer, {SuIOH yep] Joyseg Areyoez,| “wed osip EZOT/OT/L SUOTJBOTUNUIWIOD JUdI[D - Aawiony
soporse iS
SMOU PUR Sosed [e891 Sulpsesai [asunod 0} yosrey pONPOld YOMTS
syUOWUYoeye YIM UOTeOTUNWUOD [ew OI], 190 iayayulapy jouer, ayeg Areyorz7,, sulOy ye] “wd 6H: EZOZ/6L/L ‘uoneorunuTWOD Jara - Aawoy yA
ape smou Suripsesai jasunos woy JONPOI YO AA fy
JUSWORYe YM UONROTUNUIIUOD [IEW JOAJULOT YY JOURL,, SSUIOH YRYy Joyseg Areyoez,| “We 70:6 EZOT/PI/L “UORRITUNWIWIOS juer]D - AsWION WET

ased [esa] SuIpresal [asunos PNPOL YOM
0} SUT] YIM woTeoTUNUTUOD [reU” Jalayulopy jouer, ‘loyeg Areyoe7z,, SUIOD NAVY] “WR HTB EZOZT/T T/L SUONBOTUNWUWIOD JUaI[D - AOWIONY 5,
SOV UONeIO}sor Hy)
UO]A JO sypesp oJ Jasunod 0} JUoWIYOeNe PONPOLY OM, R
BIA josuNod 0} UORROTUNUIWIOD jreUry Joyoyulopy jours, ayreg Areyoez,, sulor) yey] “wd 0:9 EZOZ/OZ/L SuOHROTUNUIWUOD JuaT[D - AsWON WH
SOVA WoneI0}sol iD
UO]a] JO SYeIp 94 [osUNOd 0} JUSTUYORNS PONPOL YIOAA c
YUL JasuNod Oo} UOTBOTUNUTWOS jew Joyayulopy youes,, Yoyreg Areyoez,, suloy ye] “wd 10:9 €Z0Z/0Z/L “WOHBOTUNUOD WoI][D - Aowopy|O
SOV UONRIO}SaI -)

UOJ JO Syeip oJ [asunos oO} JUsWIYORNE PONPOLY YOM
YM JosUNOO WO UoTeOTUNUIWIOS [IeWY Joyreg Areyoez,, ‘Sulon ye Jaypayurepyy youes,| wed 26:2 EZOT/OZ/L ‘UOMROTUNUIWIOD WAl[D - Aewiony p>
—
S[BIOYJO JWSWUISAOS Joy SUOTSIADI ssad0id 5
pue WIOF YOO Jo syerp o1 juouYoRNe WOW] [SPU PNPOL YOM >
WWM JasuNOd WO. UOHeOTUNUWOD [reg] ‘yesmep a1, 199 ‘loyleg Areyoez,, ‘sulOD wey Joyoyuropy jouer.) = “We 7S CZOT/OZ/L ‘uoreoTUNUIOD yWweI[D - Aawony |?
NI
S[BIOUJO JUSWILIOAOS JO} SUOISIADI ssooold m9
pue WOT YOO Jo syeip a1 JuouIyORNe uOULeH eyo, Wesrepy ponpolg YIOAA %
YUM JasUNOd O} UOTFROTUNUTUIOS [TEU OL], 109 Lloyeg Areyorz,, Soyayulepy jouer, suloy yey] “wed [#9 €ZOZ/6I/L ‘UONeoTUNUIWIOD JWUAl]D - Aewony s

wus “CW O'd'S'N “6£010-A9-0Z:€ “ON ‘ 7) Ja aaT WILY “A “JO 18 dOVVN ay fo aouasafuoD aassauua

(PESIADY) €Z07/50/60 SOT eBoptat1g [eJuowefddng syuepuayoq

C1 JO p o8eq

ystioise Aq poyeusisep ore jauuosied [eSay pue shomony

UOHRIE Pep Yeip o1 sjusuYyoeNe PONPOLd YOM I

YUM Jesunod Woy UOTeoTUNWIWOS [ew UOULIBL] [PBYOIAl, “SUIOH ep» Joyopulopy youwr,| “wed ¢¢:¢ CZOZT/ST/L SUOTBOTUNUIWOD JUST[D - AauONYy S

UOnBIL[DSP Yip a1 sjusuYySeye pnpoig YOM

YUM [esunoo WO. suCTIvOTUNUIWIOD [lew JO}IUlaTy] jouer, Joyseg Areyoez,| “urd O¢:p €Z0Z/SZ/L SUONRIUNUIOD JUsT]D - Aowonyit

uOHeIE [Sp Yeip oi sjuoWTyORye yONpolg FIOM

UUM [asuNos WO. UONeOTUNWWOS [IeUY Joyseg Areyoe7Z, Joyayurepy youer,.| “urd SZ €ZOT/S7L SUOTBOTUNUIWUOZ jUST[D - Ado Yy DL

sjsanbai AISAODSIp yONPOI YOM KO

94 JasuNod WO UOIeoTUNUIWOS freUry Joyseg Areyoe7, Joyayurspyy youes,| “wd 61'S €Z0Z/E/8 SUONROIUNWIWIOD JUsI[D - AUC} p-

sysonbor AISAOSSIP yonpolg YOM

a1 JaSUNOS WOT. UOTBOTUNUIWOS [Iewg ueplor UME], 199 “IOYAPUloPy jouer, Jayreg Areyoe7,| “urd 9¢:p €Z0Z/E/8 SUONROTUNUIWOD War[D - AAMIONVG

sjsanbor AISA0dSIp JONPOAg YIOAA KE

a1 [esUNOD WO UOT}EOTUNUIWOS [ew ueplor UMC, 209 “toxseg Areyor7,, JayazuloTy youes,| “wed £07 €Z0Z/T/8 SUOTROTUNUIWIOD yAaT[D - AowioyyL

sjsonbar AIaA00SIp p~NPOIg YIO AA (O

o1 JesuNOS WOT UOT}BOTUNUTUOS [IEW ueplor UMeC, 100 “oyseg Areyoe7,, Joyoyurepy youes,| “urd pe:7 €Z0Z/T/8 SUOTROTUNUIIOD JUST[D - ASWIONY p
sjsonba.l AISAOOSIP JONPOLJ YOM

a1 [9SUNOD WOT UOTeoTUNWUIOS [ew ueplor UME, 109 SIayeg Areyoez,, JoyayUlopy youes,.| “wed $Z:% €Z0Z/1/8 SUONBOTUNUIWOZ JWel[D - ABWIONY. MY

SUOISSNOSIP 19

qUSWA]}9S O1 sjUSWIORHL Yep Ja]fayUlapy] JONPOLd YOMTS

YUM Jasunod WO UOTBOTUNWIUIOD [rew” JOUR, ‘SUIOD YARJ| 209 ayeg Ayeyoe7,|  uosWeqoy AIUdH-tjog,| “We SSL] €ZOZ/PI/L TUOTBOTUNUIWIOD JUer]D - Aowi0};]} VI

SUOISSNOSIP JUSUD]}0S JONPOL YJOM 55

al [asuNos WO UOleoTUNUTWOS TeUIg JOQJULST YJ JOURL,, 209 SSUIOH Ye Joyseg Ameyoez,| “urd [6:7 €ZOT/EV/L SUOTTBOIUNWIWOZ JUaT[D - Aou10}) V]-
SUOISSNOSIP JUSUIS]}9S JONPOLY YIOAA
S41 [SUNOS 0} UOTBOTUNWWOS [Tew UOULIBL] [SBYOIAL,, :99 “JOYpSJUlopyy jours, sulog yey} wed 77:24 €Z0Z/E/L SUOTTROTUNWIWOD JUSTO - ABWIONV

SUOISSNOSIP JUSUID]IIOS ynpoig WOMES

a1 [BSUNOD WO UOTROTUNTIWIOS [IeUIg UOULIRPY] [PBYSIP, 199 ‘SUIOD YR Joyayursypyy youes,| “wed 0¢:9 CZOZ/E/L SUOTTBOTUNUIWIOD yUdT[D - ABWION VY RB

ueqic) “qd sowes, ‘WepnoD MeIpUy, ‘Ueplo¢ =

SUOISSNOSIP JUSUIDI}I9S O1 JosuNOD UMBC, 199 ‘UOSMaqoy AIUdH-teg, ‘SUIOD yONPOIg YOM |W

WO, pus O} UOIJeoTUNUIUTOS [reW WR] Jo}SJulopy jours, “Ioyseg Areyoez,, uouuey [eeyoIl,| “Wed 1S:1 SZOZ/E/L SUOHBOIUNUIWOR JwUsT[D - AaWIONY E

SUOISSNOSIP JUSWA]I}OS JONPOIg YOM, S

a1 JaSUNOS O} UOTJeOTUNUIWOS [reUIg UuOULIeL] JOeysIpl, SUIODH WIR] “wd CH] SZOZ/E/L “WOTIBOTUNUTWOD JWal[D - AaWONY
SUOISSNOSIP JUSUI]}JOS OJ [osuNOD yONPOIg YOM

Woy, pue o} UoIjeoTUNUIUIOD [eu SUIOL) YAR] UOWMeEY [aeyoI,| urd £711 EZOZ/E/L SuORROTUNUITHOD JuaITD - AaWON Yin
uegipn ‘q sowes, SwepnoD MoIpuy,, ‘Ueplor by

SUOISSNOSIP JUSWUA]HIOS OF JasUNOD UMPC, 109 ‘uosLIaqoY AIUaE-WOg,, ‘sulor PONPOI FIOM, 5
Woy puR Oo} UOTFBOTUNWIWOO [reUry SPRY “IDpIyUIOPYy ours, VOWEL [OeUOIAL,. Joyreg Areyoez,| “urd pO: 1 €ZOZ/E/L ‘uOROTUNWWOZ) JUdT{D - AOWOW Wis
ueqic “qd saues, WeNnoDd MoIpUuy,, ‘UepIOs 2°

SUOISSNOSIP JUSWA]}AS 91 [asuNCD UME, 109 SUospaqoy AlUaT]-Yjog,, ‘SuIOD pNPolg YIOA\ RI
Woy. pue Oo} UOTBOTUNTUUUOO [eur WR] “oyapuapyy jouer, SuouLep] aeyory,, Joyzeg Areyoez,| “urd op:p €Z0Z/6Z/9 ‘uonROTUNUNIOD JWweI[D - Kewoyyh?
SUOISSNOSIP JUSUID|}OS oF JasuNCS PNPOLY YIOAA %
Woy pue Oo} UOIROLUNWWOS jew” Joyreg Areyoez7,, JaayUlopy jouer.) “Ue [PLL SZOZ/PL/L SuOTROTUNWIWIOD Juar[D - ABWONY s

wet ‘CW O'd'S'N “6€010-A9-07:€ ON ‘72 Ja aaT WILY “A 10 18 GOV VN ey] fo aauasafuoD aassauuay

(PaSIAeY) €Z07Z/S0/60 307] eBop1ALIg peuaLUg[ddng syuepueyoq

$1 Jo ¢§ ade

ystioise Aq pajeudisep ore jauuosiod [esa] pur sAswoyy

©

Anmbut elpout Hosiepy BW], SUOWUUPH [oeysip, -Uospaqoy yonpolg 40 ABS

OI [OsuNOS WO UOTBOTUNWUIOS [IeWy -AlUSH UO, Yong eine SsuIoy yey] ppog maipuy,| “wed 9¢:7 €ZOZ/PZ/L SUONROIUNUIWOZ JUST]D - AauIoyYyTO
oyepdn aseo yonpolg OMAL

oJ JosuNOS WOW UONeOIUNUTWOS [lew JOVIJUISPY Joueys,, SUIOH yey uoULeY [SeyoA,| “WR L1:8 €ZOZ/LZL TUOHBOTUNUIOD Wat[D - Aswoy yD
UOISINOP S7/0-f UO WINPULIOWOU [esa] JONPOL YO AA ep

21 JUSTUYOR He YIM UOITeSTUNWIUOD [TEU UOUUBL] JOLY, ‘SUIOH yep Joyayurapy youer,| “wed [P01 €ZOZ/S7/L UONBOIUNUIWOD WOT[D - AsULONY ;O
UOISIOSP $770.7 UO WINPURIOWUL [eS] yonpoig Yio AMG

OI JUSTUeYL YIM VOIROTUNUTUOD [Tew Joyayulepy jouer, UuOULeY Peyoil,| “Wd Op:S €ZOT/SZ/L SuoeoTuNUIWOZD yUsT{D - AouION WH
UOISIDOP S7jO7 5B

uo UMNpULIOUISUL [eSay 91 JUaTUAYOR YE
YIM JesuNod WO UOLROTUNUIUIOS [eu

UOWIRY] [SRY {SUIOD yey

JoyaUIOT YY yOUL Ly

‘ul'd £0:7 €ZOZ/ST/L

yonpolg YO AIO
fuoneorNUIUIOD ywal[D - Aewoyy PL.

WOIsIOop S7JO-] fo
UO UNpueIOW.UT [eBo] o1 JUOWYORNL yonpoig 40 at
U}IM Josunos Woy UORBoTUNUIOS [reug UOULIEL] JOBYOIPLy, [SUIOD YR Joyayuropyy ouer,,| “wd gore €ZOZ/OZ/L UONBOTUNUWOD WAT[D - Aawiony |
UOHeIE[ap Yelp ol sjuouyoene WeE{NOD MaIpuy,, ‘UOULey TONpPoIg OMNI
UJI JasuNos Wo uoTeoTUNUIUIOD IEMA] —JABYIILy, 299 {suION yeyy “Aoyayulapy you, joyseg Areyoez,| “wd €¢:01 €Z0Z/SZ/L UOTBOTUNUWOS) JUdT{D - Aawionyio
UOHeIeSep Yelp a1 sjuoueye JONPoTg YOMTS
YUM Jasunos 0} UoTBoTUNUAOS [eu UOULIEL] [SVYOIPAL,, 90 ‘AoIayulopy jours, SUIOD ye] “Wd BE:O1 EZOT/SZ/L ‘uoneorunuW0| Wwal{D - Aawoyyy
WoryeIe[Sep H)
YIP oJ syHOUNOeYR YIM pasunos yONpolg YO AAT

WOH pue Oo} uoNeoTuNUNMOS pew UOULIELT IVYSIPL,, SUIOD ye soyayuropy youer,.| “wed $¢:¢ €Z0Z/SZ/L SuonRorUMUIIOD JWT!) - AdWIONY
woe1e[Sop 5
Yep o1 SJUSTUYOEHe YIM fosuNoo yonpolg HOAs
Woy pue o} UOLROTUNWWOD [EW JOQPUIIY] Joue yl, jopeg Aeyoez,| “urd 0¢: €Z0Z/SZ/L ‘uonRoTUNUTWOD WeT[D - KeWORYR
UOHeIe[ep Yep a1 sjusUIYORHE We|nOD MoIPUY y, jonpold YOME
UM [asuqnoo 0} UOHBOTUNWUTNOD [ew ‘LaYAPULaPY] Jouwl,, :90 Joyreg Areyorz,,, suloD yey] “wed Ze €ZOZ/SZ/L {UOLBOIUNWIWOD JWAT[D - Asuoyy D
woHeIeSep YeIp ai sjuswySENE NpoIg HOME
IPIM [asuNos WOY uoHBoTUNUIWOS [FEW joyeg Areypoe7y, sayayuropy youer,.| “wd SZ:1 €Z0Z/SZ/L SuoreoTUNUIWOD JUaT]D - AaWIONy PL
WoHelepSap Yelp a1 sjusuroRpeE WeInoD MoIpUuy,, -UOULeEy yonpolg OAV

YJIM JesuNoS WO UOHeoTUNUNOD [EU] —«ABYDIJA,, 199 ‘sUIOD wey, “ayayurapyy jouer, Jomeg Areyoez,| “urd $0: €Z0Z/SZ/L SuonPOTUNUIWIOD WATTD - SowONy
ueqir ‘q sowles, ‘WenoD moipuy,, ‘Uepsof D
SUOIssnosIp juowapes| «= UMBC], 709 SuOsjIaqoy Aluap]-INaq,, ‘UOULeE] jonporg Wom
al Jasunos Woy uoTeorUuNUTWOD [ew [OBYOIPAL, 109 {SUIOH YR] oye Areyoez,, JoyQJulopy yourr,.| “wd op:y €Z0Z/6Z/9 ‘uoneoruNUMWIOD jwal[D - KoWORW,
uoHelepsep Yelp ai sjuoumyoene yonpolg SOAK ES
YUM fosunos Wo] UoreorunWUIOS ew IO PYULOPY] JOUR L,, SSUIOH wep, uoUNeLy oeyoI,| “Ue £68 EZ0Z/9Z/L UONBOTUNWOD UdT{D - Aowiony he
UOHeIe[Sap Yelp a1 sjuouNqoene yNpoIg WOA\NI
UJIM JesuNos WO UoTeoruNwUIOS rewy SUIOL YAIRI] qoyayuropy youer,| “wed €6:01 €Z0Z/SZ/L ‘uOHBOTUNWUUIOD Wat{D - KouoNYyh?
UOHeIE[Sap Yelp a1 sjusuIoene jonporg WOM by
YJIM JasuNoo oO} UOITOTUNUMHOS [ew UOULIELY SeYOIAL,, 299 ‘AoyaTULepy jouel,, sulOD ye] “wd B¢:O1 €Z0Z/SZ/L ‘uOHBOTUNUWOD 1UaT]D - Kawiony ts

(PestAsy) £707/S0/60 307] oBayLAL1g peyuoweyddng syuepueyoq
wus ‘CW 'O'd'S'N) ‘“6£010-A9-07:€ “ON “70 Ja aaT wb “A “JD 12 GON ey] fo aouasafuoD aassauuaT

SL Jo 9 o8eg ysuejse Aq poyeusisep ore jouuosiod yeda] pue sAowony
MN
st
4
SUOISSTUTUIOS UOT]O9]a p>
AYUNOD IO} OWOU YOO Yesp a1 yuowrpoeye jonpolg YoA Ht
YIM Jasunos WOU UOTeOTUNWUWIOD [IEW SUIOH YePy] = Uos}Jagoy-AluoHy WOG,| “Wd €7:4 CZOT/6V/L ‘uOTBOIUNUIWIOD JWwel[D - Aaeuon yO
yn09 eS
JO S¥IJO]O JO} OWS YeRIp a1 JUSUIYeNe JONPOLY IO AA KO
YUM [aSUNOO WO UOIBOTUNUIUIOD [IeUIg SUIOD WIRY} «= UOSeqoy-Aluey Ylog,| “Wed pr:L €Z0Z/E/8 SUOTTROTUNUIWOZ) JUST - Kauronyy~
uos}ioqoy Ald I
-yjeg Aq yoreasal [eSo] a1 spuswUyoRye pNpolg YOMIO
YJIM JosuNoS WO UOIeOTUNWIUIOS [reUIg UOUNeL PRY, ‘oY IUlopyy jouer, SUION WIR] “WR OF LT EZOZ/EL/L ‘UOTROTUNUTWOT JUal[D - AsO} yO
youvasal [eso] oi sjustuyoene JONPOIY YO AA S
UPIM jesunos WOY UOHeoTUNUIUIOD [IEW SUIODH WIV] = UOS}Joqoy-Aluoxy Wog,| “Wr! 9711 EZOZ/EL/L SUOHROHUNUIWOD JUsT[D - ABWIOW YW fe
UONeIepop Yep a1 jusWIyORye wreyno7) JONPOLY YOM
UJEM J@SUNOS WO UOTyeOTUNUIUIOD [Lew MOIPUY y, 199 {SUION WRIA] {azapUlapy jouer, Jayreg Areyoez7..| “we'd 70:71 €ZOZ/SZ/L SUOTROTUNUIWUOZ JUaT[D - AWOL Y Ly
UWOHLYSISAI I9}OA N
OLOE-SS 0} Supe pasodoad a1 yasunoo uosyiaqgoy jonpolg 30 ano
wo pue oO} uOIyesTUNUUWUOD lew) -AluaH Yleg,, ‘SUIOD Ye] 190 fauealH “vy Yaqoy ppoq mapuy,.| ‘wed vip €Z0Z/9Z/L ‘UOWITUNWIWOD JED - AoWON Wy
SUI] ase yonpolg yo AI
OJ JaSUNOD WOY VOIeOUNWIWIOD [TEU JoYIPUloPy yours, SuOWUeL [oeYyoIA,, SUIOD WRI] “WE GPL L €ZOZ/E/8 SuOneOIUNWIWOZ yWSTTD - AeMONnYy 8
SUI] oseo yONPOld YIOMIT
a1 JasuNoS WO UolEoTUNUWOS ew ppoq Molpuy,. SUIODH We] “We OP: LL EZOZ/E/8 SUONBIIUNWIWIOD JWAl[D - ANUIO}Y
SUI] aseo JONPOId YOM by
a1 JasUNOD Woy UOT}eoTUNUIUIOD [ew SUIOL) ILA ppog Maupuy,| “We prOl €Z0Z/¢/8 SUONBOTUNUTUIOD yuar,D - AewoNWES
SUIT aseo ONPOAg YOM AY
a1 JasuNos WO UOTyEoTUNWOS [ew ppog Meipuy, SUIOD We] wrd BPP €Z0Z/9Z/L SuonRolUNUIWO? WwAI[D - AeMoy te
Sul aseo yonpoig xO MV
ai JasuNOD WOY uoNeoTUNUIWOS [ew SULOL) WIR ppog moaipuy,| “wed 67:1 €ZOZ/97/L SUONBOIUNUIWIOD JUST - Kowony
Sully aseo JONPOIg FIOM, S
a1 [asuNOS WOY UOTeOTUNUIWOD [IeWIA ppog MeJpuy,, suION ye] “wd 90:1 €Z0Z/9Z/L SUOnROIUNWIWOD jusl[D - Aswo VIA
SUTTTE seo ponpoig YIOAA
a1 JosuNOS WOY uoTEoTuNWIWODS [ew SUIOL Je ppog maipuy,| “wed pl:Z1 €ZOZ/9Z/L SUONBIIUNUIWOD ywUST[D - AsUIO WO
SUI aseo JONPOI JOA 8S
a1 [asUNOD WO UOTeoTUNWUWIOD [IBEW ppog Meipuy,, SUIODH WR] “we'd 77:9 £70Z/Z/8 SUOMBOIUNUIWOZ) JUaT]D - AsWOHLYy 5
SUI[y aseo pNpolg YIOM|>
ai JesuNOS WON. UOTTeoTUNUMOS [IEW SULOL) Ye ppog Moipuy,| urd ¢¢:¢ €70Z/Z/8 SUONROIUNUIWOD JaT]D - ABWION YW Se
SUITE, aSeO pnpoig FOMN
a1 JOSUNOD WOT, UONROTUNUIWOS [eu SUIOD Ye ppog maipuy,| ‘wed £7:S €Z0Z/Z/8 SUOTROIUNWUIOT) WST[D - AewMIOny h
Armbut erpaul YOSIRY Wl SUOUUeLY [seyoIl,, ‘UOSLaqoy yonpolg WOM, %
a1 [SUNOS WON UOTROTUNWIUOD [IEW -AlUaP] Wg, “yong ene fsuroy yey] ppog mMeaipuy,| ‘wed 6€:7 €Z0Z/PZ/L SUONRSIUNUWIWOD ywal[D - ABW Y s

wel aw ods7a “60 L0-AD-0Z'E ‘ON. “jo 10 20T UDIPILY “A “JP 12 dOVVYN ayy fo a0uadafuo,) aaSsouuia J

(PaStASY) €Z0Z/S0/60 80] eBepIAIIg eUoWalddng ,sjuepusyaq

C1 JO L a8eg

yslioise Aq poyeusisop ose jouuosiod eso] pue sXauiony

SULLO} YOD Yeap oJ UowSeye yNPoId WOM}
URIM JOSUNOD WO. UOTOTUNUWOD [IeWg ppog MaIpuYy,, 199 {suIODH wR] uOsyaqoy-Aruay Wog,| “wed 87:7 €ZOT/OZ/L SuOnROIUNWWIOZ JST[D - AWOL Y SS
SULIOY SUIOA YIP a1 JUSWIYORTe JoyayUlp yy yonpoig yoMf?
UJIM JesuNOS WOY UOHeoTUNUIWOS [IeUIg PULL, ‘SUIOD yRyy 100 Glayreg Areyor7,| uosyoqoy-Auspy yiog,| ‘wd 67:9 EZOZ/6T/L SuoneotUNUIWO? yUaT[D - Aowoyyy:
ssaooid i
PUL LLIO} YOO Yeap o1 JuouYoeye JONPOI YOAA e
UUM Jesunod WO UOTeOTUNUIWIOS [ew I[eH prevog ‘ppog Mapuy,, {suloH ye] vosyaqoy-Amuay og.) “wd pO:Z1 €ZO7/61/L SUOTROTUNUIWIOD Jwar[D - AaUIOW yO
SOIUOJO} IOP[O UO OUIOW WRAP Tea yonpold YOAA]
QI JasuNOS WIOY UOKPOTUNUIWOS [eu pleuog Suospeqoy-AIUay Yj, ‘SUIOH YAR] ppog mapuy,} ‘wed 7$:$ €ZOZ/6 T/L fuoeoUNWWOD jUsT[D - AsWIO}y} WH
SOTUOJO} JOP[O UO OUI ea PONPOIg FIOM O
YIP 91 JasuNod 0} UOTJBOTUNWIWUIOD [IeUrY]| pyeuod ‘uospeqoy-AJUSH Weg, ‘ppod Maipuy,, sUION yey] “urd gery CZOT/6L/L SuORROIUNWWOD yWeT[D - Aewoyyy-
uoTeIe Pep Yep oi JUsWIYORe IONPOIg YOM FS
YUM JasuNod WO] UOTOTUNUTUOS [Tew SUIOLF Ye Joyoyulopy youer,| “We Cp:8 €ZOZ/9T/L SUOTBOTUNUIWIOD JUST - AdWIOITY ko
ssaooid
pue WLIO YOO Yeap os yuouoeye JONPOLY YIOAK Ly
UJIM JasuNOS WO UOTE OTUNUIWOS [ew SULOD Yel] = uosyaqoy-Aluox yog,| “wed 67:9 €ZOZ/6 T/L SuOneoIUNUIWOZ JUSTO - AOWION WN
ssasoid iS
pue WHOS YOD Yeap a1 Juoweye yonpolg WOMTG
UUM JOsUNOS WO UOTTROTUNUIIOS [Tew SUIOD Yel] = uosIoqoy-Aluax Wog:| “wed Lpp €ZOZ/61/L {MOTBOTUNWIWIOD yWAT[D - Aawoyyy
uonese pep YeIp a1 sjusuySeye JORPOLJ YAO MED
UWIIM JasUNOD 0} UOTROTUNUTLOD [Tew Jayayulopy youer,. SUIOD Ry] “Wd £S:Z1 €ZOZ/9Z/L uoTROTUNUIWOZ JwUAaTTD - ABWOTY] TL
uoleIB[OOp Yeap a1 sjusyOeNe JONPOLY YO A,
UJEM [eSUNOD 0} UOTJVOTUNWILOD [IeUI JOYQJUlapy jours, SUIOD HIV] “WB BO: 11 €Z0Z/9Z/L SUOTBOTUNUIWUOZ) JSI[D ~ ASO Vp
uonelepeap Yep oa syuoWYpeyE pnpolg JOM
UJIM JosuNOS WO. UOTeOTUNUIUOO [reUTy SUIOD YR JoYIUIopy] youer,| “Wee OTT EZOZ/9T/L fuOTFEOTUNUIWOD JWUST[D - ADUIOIY, S
uoNRIepep Yep a1 syusWYSeye yONPOLd FIOM E
UJEM [2SUNOD 0} UOT}BOTUNUIIOD [Tew JOYIUlOPy Joue ly, SUIOD WIV] “WR EEO] EZOZ/9Z/L SUOROIUNUIWO?) JUaT[D - Aauoyy
uonelepep YeIp a sjusuoeye JONPOI OMS
YIM JasuNOd 0} UOT}BOTUNUTLO [IEW JONI] JouRL, SUIOL) WRIA] "WR BOO EZOZ/9Z/L SUOHBOIUNUILUOD JUST[D - AAUIONYW 5
uoeIe Pop YwIp o1 sjusuIOeye JONPOLY FIOM,
UM Jesunod WO UONROTUNWIWIOD [TEU SULOL) Ye] JaVOyUlopy] jouer.) “We TPG EZOT/9T/L SUOTBITUNWIWIOD jUST[D - AUIONY
ssaooid pue UOJ YOD Yelp a1 yonpolg YOM P?
SIUSWUOeIE YUM UONLOTUNWIWIOS [IBUIT ppog Moipuy, ‘UosLaqoy-Alusy Weg, SUION WR] «wd 7Z!9 EZ0Z/OZ/L SuOROTUNWUUIO’) JUST[D - AQWIO YW SB
ssa00id Pue UO} YOD Yep a JONPOLY FIONA, 5
SJUSWUYOR]I YM UOTOTUNWIWIOD [TEU ppod Malpuy, ‘UOsLIsqoy-AIUS}] HIS, suIOL) WIR] «wd [0:9 €Z0Z/OZ/L SUOTNBOLUNUEOD JUOYD - AaWOIy >
WOOD yelp jonpord YOM LS
OI SUSUR YIM JosuNnos Woy [lew SUIOD YARYAI]  Uos}Joqoy-Aluay Weg,| “Wd op:¢ €ZOZ/PL/L ‘UONBOTUNUIWIOD JUsT{D - AewoyN
sow ssao01d YOD Yep 1 syuswyoene JONPOLY YOM ey
YM Jasunos Woy uoTeoruNUIWOS [IeWIA SUIOD YB] uospoqoy-Aruoy YNog,.| "Wed 6E:8 EZOZ/6L/L SUONBOLUNUIWOD JUsT[D - AWOL Y S

wus “CW 'O'd'S'N “6€010-A9-07:€ ON “7? Ja 207 WITTY “4 (70 12 dOVN ay} fo aouasafuog aassauua J

(PesIAeY) €Z0Z/S0/60 307] a8aTLALIg [eIUOWUE[ddng ,sjuepuayoq

SL JO 3 a8eg ysliayse Aq poyeusisop ose jouuosiad ea] pue shoulony
oO
uonese[sep Yeip 31 UouTYyoRye urejnod pNPOlg YIOAA y
YIM JasuNOd 0} VOHVOTUNWIWOD [TeUIg| MOIPUY,, ‘JoyaJULOP yy jouws :09 Srayreg Areyoez,. SUIOD WIR] «Ud TH] €ZOZ/SZ/L SuOTROFUNUWIWOD JudsI[D - AsO] YO
UOTeIBIDOp Yeip a1 JUaWUyORye wepnod JONPOI IO AA TH
YIM JOSUNOS WO UOTROTUNWIUIOS [Tew MOIPUY,, 199 [SUIOD WIR] JOIIJUTSPy] JoueL,. Joyseg Areyoez..| “wd 60:1 €Z0Z/SZ/L SUOTBOTUNUTWOD JUaT]D - ANWOIT VID
SOTUO[O} JOpjo pue ssadoid e
YOO ow yuouryorye YM Josunos WoL pNpPOL YOM KG
JUSWUYOEYE YIM UONSOIUNWUIOD [IeUIg] YoOSIeP] J, 199 SoypayUlopy jouer, SsuIOH wR] Joyeg Areyoez,.! wd oS:p €Z0Z/OZ/L SUOHROLUNUIWOZD JUsT[D - AWIO]LTW p-
—|
SOTUO]A} Japjo pue ssasoid YOU 6
yUoUYSeye YM JUSWyOe}e YIM JosuNOS yonpold AOA 0
WO pure Oo} UONROTUNWIWIOD [IeUTq] }OSIEP{ OL, 109 Sayseg Areyoez,, ‘SUIOH yep] JOIULspy] youesy| = “We 1$°8 EZOZ/OT/L SuoRoIUNWIWOD yusI[D - Aswo}}py
SoTuo{a} Japjo pue fe
ssa00id YOO a WSUIYOeYe YIM jasuNos yosiey pONPOlg FIOM
O} JUSUTYORYL YIM UOTeOTUNUWWOS frewg OL 799 Mayapulepy jouer, Srayreg Areyor7,, sUlOyH WR] wd 6F:8 CZOZ/6U/L SUOMRONUNUIWOD JUsT][D - ABWIO}W
sTysli drysusziqis Jo N
UOT}LIOJSAI PUB SJYSL SULIOA JO UOTRIO}SOI io
Uo BpueIOWIOU [ea] a1 syuswMYSeNe JONPOAd WOM TS
YUM JasuUNod WO UOTeoTUNUTWION [IeWA SUIOD WIRY WOSIeY AL JOpJulapy] youes,| “Ue ZOO] EZOT/9T/L SUOTJBOTUNUTWIOD JUST[D - AdWIO]T YI
SOVA UOeIOIsoY i)
UuOpaJ YeIpP 0} s}Ipa a1 JasuNos Woy uos}Iaqoy ponpolg y40 ATT
JUSWTYOR}IE YIM UOTPLOTUNUIUIOS [Tew -AlUOY UO, ‘SUIOH sR ‘ppoq mapuy,|  Uospegoy AlUsH-yIEg,| Uwrd 87:9 EZOZ/OZ/L SUONVOUNUIWOD JWdsT]D - AsWIOI}y
SOVA WOHRIOISIY UOps7 L
YLIP O} SjIpe o1 JosuNOS Woy jusuTYOe}e PNPOId WOMIS
YIM JOsuUNOdS WO. UOIBOTUNUIWOS [lew UOSLIOgOY-AIUSH] UJOg,, ‘SUIOL yey ppog Maipuy,| “wed 00:9 €ZOZ/OZ/L SUOHBOIUNWIWIOD JUsT[D - AWC y RB
SOV woneIO}sol / te
UOIa} YeIp o1 [OsuNOd O} JUaTUORYB pnpolg YAOM jb
YIM JASUNODS O} UONRSIUNUIWOS [IeWIg| Pesiep a1], Sayeg Areyorz,, oyayulapy jouer, SUION IR] “Wd CT: EZOZ/OZ/L SUOnROIUNWWIOZD ywAaT[D - AAWO}Y c
sOVA S
UOLJB1O}SO1 UOTS} YRIp a1 JUsWIYORye yonpolg WOMA)
UNA JesuNnod Woy UOTesTUNUIUIOD [lew SUION) YAR] ppog Mopuy,| “wd gorp €ZOZ/OT/L SUOTPVOTUNUIWIOD JUsT]D - AOWIONY
ssao0id In
pue UO] YOO Yep o1 Jusuyoeye pNpolg FIOM, SS
YUM [asuNOd 0} UOTJEOTUNWUUIOS [IeUIA uosyagoy-Aluay ule. SUIOD MIRA] “Ud 67:9 €ZOZ/6L/L SUOTEOTUNUIWOD JWal[D - AawON WE!
SOV A UOnRIO\sSOY SS
UOjey YeIp of JesuNos Woy JuowYoeye pyonpold YAO O
YUM Jasunod WOT UOBOTUNUIWOS [eur uospaqgoYy-AIUs}] YEG, ‘SUIOD yep ppog Meipuy,| “wd o¢:¢ €ZOZ/6 T/L SUONRIIUNUIWOD JUsTTD - ASWIONY |
SUOISIASDL SSa001d PUP WLIO} UOWWEH] [SBYSIA,, JOUUIIg PO
WOD fo syYRp a1 JasuNoo 0} jUSUIIeye} UaL,, ‘UOsaqoy-AIUaL] YIeg, ‘ppogd Moalpuy,, yONpolg YON 3
YIM JSSUNOS 0} UOBOTUNWIWIOD [TeUIg 100 “layleg Areyoez,, Jaypyulopy jouer, SUIOD yey] “wed PHP EZOZ/6L/L {UOTBOTUNUIIUOD ywa!]D - AaWONY |S

(PASIASY) €707Z/S0/60 307T e8epLAl1g Jeuue]ddng ,syuepucjog
wwe ‘CW 'O'C'S'N “6010-49-07: € (ON “72 J 297 WPIITLM “4 ‘JD 18 COVEN ays fo aouasafuoD aassauua

$1 JO 6 Wed

ysiiojse Aq poyeudisap oe jouuosiod [ea] pue sXkauiony

©
WOIs|Ep $770.7 91 [BSUNOD WOU ponpoig 410A 8
JUSUIORYB YIM UOHPOTUNUIUOD [reW yong alpne :99 ‘yeSsey OL sulop yey] “urd [0:7 €Z0Z/6Z/9 SMONBOTUNUIIOD ywAT[D - Aowoyy
UOISIOap S7jM.7 91 JUSUIYORHe eH yonpoig YOM
WIM Jasunoo Oo} UoIBOTUNUIUIOD [lewWYg| pjeuod ‘ppod Moapuy,, ‘Uosjieqoy-AlueH Ye, SUIOD ye) “wed 7S: €Z0Z/6Z/9 ‘uoHROTUNWUWOD yEl[D - Aswon yi
WOISIOSP S7jO] 1 JOSUNOD WOH uosyaqoy-AlUep Yog, Toyspurspy PNpolg FIOM eo
JUSTUTOeE YIM UONPOTUNUULIOS JIeUT, youes,, {UOUBP JoeyoljAl,, ‘SuIOD yey JoZory Jopuexopy,| “wed 7$:]1 €Z0Z/67Z/9 SUOTROTUNUIUIOD yWdT]D - Aowiony
UOIsIap S7/D.7 a1 Jasunoo JONPOId HO AA]
WO PUR O} UOTROTUNUTUIOS [IEW uosyaqoy AIUSE-UI0g » SULOD WRI] “We pL:OT €ZOZ/9/L fuOTROTUNUIWIOD JuaTTD - AowoyyA
UOISIDOP S7/O-] 91 fasuNOd pnpolg WOMB
WO. pue Oo} UOTBOTUNWUIOS [eWg Joyreg Areyor7,, 199 flayapulapy jouer, SUIOL) YR] “WR TL:O1L €ZOT/9/L fuoROTUNUIWIOD Jwal[D - AsWIOy WO
UOISIOop S777 a1 yasuncd PNPOLg YOM 2
Woy pur Oo} UOLBOTUNUIWOD [reUr SUIOD) yey ‘Jaysreg Areyoez,, Joyajulopy joues,| “We 6S:6 EZOT/O/L ‘uoneoTUNUTUOZD Wal]D - Aewiony fo
UOISISAp S7/O.7 a1 fosunos JONPOIg FIOM
WO, pue Oo} UOIBOTUNUIUIOD [IEW SUIOL) YR {IO} JUIOPy] jouer, Joyreg Areyoez,,| “We 96:6 €Z0Z/9/L ‘uoneoTUNUIWIOD yWal[D - AewWOpy LS
UOISIOAp S7/D.7 21 FasuNOd JONPOLY OMNI
Woy pue 0} UOIyeoTUNUTWOD JrewIg Joyeg Areyoez,, ‘sulon yey Joyoyulapyy youer,| “We S18 €Z0Z/9/L {UOBOTUNUIWIOD JWUDT]D - fawiony{o
UOISIOap JONPOL YOMTS
S]]D-] 21 JBSUNCD 0} UOPITUNUTMIOD [EU Joyayulapy yours, ayreg Areyoe7,, SUIOL) IVY] “WIR 8728 €Z0Z/9/L TUOHBOTUNUIIOZ JUAITD - Aouloy yA
QSBO JUSSI 19} [Sf USS] JONPOIg 410 A\ 5}
Ql fosuUNOO WO UOTeoTUNWIWOO [ew yours, UOULIRE [oeyorpA,, ‘SUION yey] ppog Mapuy,| ‘wd p1:% €Z0Z/r/8 ‘uoqeolUNUTUOD JUar[D - Aawon yi
SOTUOA} JOP[O UO OAT Ppod MaIpuy, PNPOL FIOM
Yep oi Jasunoo 0} uoTeoTuNWIWOS [reUrY fuosyaqoy-Aluapy Wag, 109 {SulON yep] Teo preuod] “We OT°1L €ZOZ/6L/L SUOHBSIUNUIWOD JUET]D - AOWIONW},
SyuaUIMOOP S}isqaM SOS PNPOI WOAD
YAP 1 [asunos 0} UOTBOTUNUIWON [IEW ppog Moapuy,, SUIOD WR] “wd OF: 1 EZOT/6I/L SUOTROTUNUIUION JUAT]D - AWC’ I
ppog Moipuy
jesunos Aq MOIAOI IOF SJUSTUNIOP 9}ISqom yonpold YIO AA kD
SOS Yep ot UOlyesTUNUAWOS [IeUU Ay SUIOD JIRA, yeh preuog ‘urd LE-p ETOT/BU/L SUOTFBOTUNUITOD ywayD - Aawony E
sssoold; = 9USaID “YW Laqoy SuouLIEHY eeyoIA, souusig e
pue ULC} YOO Yeup si jusuryoeye) —_uay,, ‘Uospaqoy-Aruapy jog, ‘ppog Mopuy, ynpolg YOMD)
YJiM JaSuNOD 0} UOHeOTUNUIUIOD [TRU 100 ‘layleg Areyor7z,, “loyayulopy yours, SUIOD YB] “We £776 EZOT/OT/L SUORITUNUIUIOD JWUSI[D - AoWOyY
ssaooid UOULIEGY [SeusIAl, D>
pure ULIO[ YOO Yep oi yuswYOeye ‘JouUdIg Uds,, UOsLaqoy-Aluay Weg, (ppog pONPOLY FIOM, BS
yy Jesunoo Woy uoIeoruNuTUOS [eur MOIPUY,, 100 Sayreg Areyoez,, ‘Sulon yey JO IJULOTY youes,.| “UB HS78 EZOT/OZ/L SUOTROTUNWIUIOD ywaT[D - AWC, 5
ssaooid uOULIBy [eeyolyAy,. Ud LS
pue ULOJ YOO YeRip sijuswyoeye| ues, ‘uosplaqoy-Arusyz] YE, ‘ppoq Meapuy,, yonporg yo [P
YJM JasuNod oO} UOT}ROTUNWIUOS [Yeu 109 ‘doyreg Areyoe7,, “Joyapulopy jouer, SUIOD ye] wd PHP CZOZ/61/L SUOTBOTUNUIUIOD JUST]D - AdWIONY. NI
ssacoid i)
pue UO} YOO Yelp a1 yuowyoepe pNpolg YIOM BB
YIM jasuNod 0} UOTBOTUN WHOS [Feu UOsLIaqoY-ATUaPz] YIOG,, (SUlOD yey ausaIn “Wy Meqoy| “urd Seip EZOZ/6L/L SUOTBOIUNUIUOD JWal[D - AAWOITY S

wus], “CW "O'S “6£010-A9-0Z:E ‘ON “7D 42 227 WITTY “4 ‘TO 10 TOVWN 24) fo 2ouasafuo aassauuay

(PestAeY) €Z07Z/S0/60 807T OBepLALI [ejUsWe[ddng sjupuczaq

G1 JO OL adeg

ysioise Aq pojeusisep ore [ouUosiod [esa] pue sAswoNy

ULIO} UOBYSIsOI a

JOJOA POSIAOI 31 JUDUTYSEI}e YIM [esuNOd PNpPOI OM OD

0} pue WON UOHNeoTUNUIWOS [leUIg SUIOL) WARY] 100 fayayulopy jouer.)  uospaqoy-Aruoy wog,| “wd 90:1 €Z0Z/P1/9 SuOTyeOTUNUIWIOD jUST[D - AOWIOITY P?

WLIO} He

UOYL.YSIZAI JOJOA PASIAal a1 suse JONPOIY YIOAK a

YIM [aSUNOD WA. UOTVOTUNUIOD [TRU SUIOH yey] UOS}JoqoY-Alusy wOG.| “Wed 90:1 CZOZ/L/L SHOTROIUNWIWOZ JUsT{O - ABMIONY 2

WOOD Yelp ai syuswypoeye JONPOIg YOM, EP

UQIM JOSUNOD WO UOTIROTUNUTUOD [Feu [eH preuog ‘ppoq mMopuy,, ‘sulon yey] uosyaqoy-ArueHy ylog,.| “wd PO:Z1 €ZOZ/6 T/L SUONBINIMNUNWOD JUSI[D - AOWIOU Vio

SONSS] UOHP1O]SAI UOTA} UO SLBYOMOY i

PUP SULIO} PastAdd oJ JasuNOD WO pNpolg yO OC

sjuoWYoRe YM UOTPOTUNUTWIOD [Lew SUIOL) WRAL, Joyayuropy youes,.| “we'd Ol: €Z07Z/0Z/9 SUONROIUNUIWOT JUdT[D - ABWO}Y B

HE KD

4S00 JO} jsonbal a1 JOsuNOD WO. IIApe ee

Sunsonbes Woy uoreorunuWos prewy JOYIUlPY yours, SUIOL HIV] “WR €€:6 €Z0T/0Z/9 uoreormumuos JuarD - Aawoyyh.
ONSSI [eso]

a1 Jasunos Woy uOHBOTUNWWOD [leur SUIOD JIRA, Joyoyulopyy youer,| = Wd Ser EZOZ/LI/L uOnRoIUNWIWOD 3UEI[D - AeUIONY' 0

OMSSI [VSI] O1 [OSUNOS WO 6

SO1Ape Suljsonbol uOeoUNUIWIOS [IEW JOQJUIOPY] Jue, SUIOD WIR, WB SP LL EZOZ/LI/L uoneounuWod yelp - Asulon yt

YoIBasal PONPOIg FIOM LY

[eS9] OI JasuUNOS 0} UOHROTUNWWIOD [reUIg UOULIBY [SBUTAL, SUION WR) “We PST €ZOZT/S/L SUOMROTUNUITUOD JUST[D - ABO} VIO

yorwasal yONpOLg IO AAF=

[eSo] oF [asUNOD 0} UONROIUNUIWIOD [Feu UOULIeL [SRY SUIOD WIRY] “WB 91:8 EZOZ/S/L SUONROIUNUIWO’) JUSI[D - AoWIO}}Y HL
ssao0id

pue uO} YOO Yip a1 yusuryowne yonpolg yo Mp

YUM JOsuNOd WOW UOTEOTUNUIIOD [Tew SUIOD YARYl] = UOs}Jaqoy-Ayuapy UOG.| “Wed 1S:p CZOZ/6T/L SUONROIUNUIWIOR JUST{D - AQWIOWY DS

Q]e1S JOJO UT UOTSTOAp YNOd UOeI0\sa1 JNPOLg YIOAA 5

UO[oF 91 [OSUNOD 0} VOIVOTUNUIWIOS [eu Jayoyulepy yours, SUIOL yey] «= “wed 96:9 €7Z0Z/S/L SuOTTROTUNUIWIOD jWaT]D - AaWoNWE

aeIs B

JaYIJO Ul UOISID9p UNOS UOI}eIO}SOI UOT} yonpolg YIOAA S

o1 JOSUNOD WO UOTBoTUNUTMION [eur

SUIOL Yue]

Joyayulapy jouer,

‘urd $0:9 €ZOT/S/L

SUOPOTUNWIIOT WATTS - ABWIONV

9}e)S JOJO UT

UOISI9SP LINCS UOT}IO|SO1 UOT} a1 fasuNoo yNpoLg y10 wf
0} JUSWIYORYe YIM UOLROTUNWIUIOS [Tew Joyayulopy yours, SUIOD wR] “Ud 67 EZOT/S/L SMONeOTUNUIWIOD yuaT[D - Aawioy WAI
sysonbar AISAOOSIP yONPOI YIOM, R

OJ [OSUNOS WO UoIyeorUNMWOS [Iewy YOULIRH JaeyorpAl,, ‘SUIOH yaepl] uUoswaqoy-Arusy yeg,| “wd 7$:Z1 €Z0Z/9/9 uOBOTUNUTWIOD Jwal]D - AaWIONYy|O
sjsanbar ATaA0osIp yONpold YOMKY

OJ JosUNOD WO. UOTeoTUNWUWIOD [eur SUIOLD YIVJAI]  UOS}IOQoY-Alusdy Yleg..| “We LE: 11 €Z0Z/S/9 SuOTFROTUNWWIOD JUAal[D - AOWONY hy
s}sonbar ATaA0dsIp Joyreg Aleyoe7,, ynpolg Y40M |w

OJ [9SUNOD WO UONBSTUNUNUIOS Jeg] :99 “ayjayulopyy Joueys, SUosHoqoy-Aluazy yoy. JoSory Jopuexs[V,} “We 96:6 €Z0Z/S/9 SUOMROTUNTUOD WwdITD - AoWIOnYy oo

O

WEL “CTW 'O'C'S'N “6010-49-07: ON “70 12 2aT WITTY “4 (JO 18 COVEN ay fo aouasafuoD aassauua]

(PASIAsY) €707/S0/60 SOT OS ALIg [euoWelddng syuepuayaq

C1 JO [Oded

ystuajse Aq pojeusisep ore jouuosiod yea] pue sAowony

0
WLIO} #9
WOO Yeap o1 JUowYoeye YM JosuNod yonpolg 340 any?
WO pue Oo} UOTJEOTUNUIWIOS jew JOYQUIOpy youes,|  uosweqoy-Arusy eg,| “wed go:€ €Z07Z/S1/9 uONBOTUNWILUOD Iwer[D - Kawonytt
uOuLeyy ©
sjsonbol AI2AO0OSIp 91 JaSUNOS| = JSBYIPL, ‘SUIOH WRIA] ‘URpJor UME, Jopeg JONpOld YIOAA e
0} pue WO uoTeorunuUOD jreurg] Areyoez,, 109 ‘iaSery Jopuexey,, ‘eae ojged,|  uosjioqoy-Ajuey wjog,| “wd 60:9 €Z0Z/SZ/S ‘UONROIUNUIWIOD JUal]{D - AOUIONLY, 0
sysonbol AISAOOSIp OJ [asuNnosd ueplor UME, JoxsJeg Aleyoe7,, yONPOld YOMdo
0} pue WOY UOIBOTUNUIUIOD [IBEW] SraSeny JepueKxe]y,, 199 ‘UOsLaqoy-AIUaH Yeg, BVA O[ged,| ‘“wrd 77:5 €ZOZ/ET/S SUONBOTUNUILUOZD JUSTO - Aowmonyyt
UOTSIOSP LINOD oJ JUSUIYORYE yNpOIg YO AA P
ULM JOSUNODS O} UONROTUNUIOD [TRU uosLaqoy-Alusyy Weg. SUIODH WR) “wd PZ EZOS/LU/L SUOTBOTUNWIWIOZ JST[D - Aauonyy |
UOISIDSp MNOS a1 JUSTUYOR ye pNpolg YOM ty
YIM feSUNOd 0} UOTROTUNTUUOD [reWY uos}iaqoy-AlusH YIeg,, SUIOD WIRY) “UFR ES: EZOZ/LUV/L SUONROIUNUIWOZ JUsT[D - ABWIO]W >
UOISIDap LNOD a1 JWSUIYOR}L yONpPOLg FIO AA
YIM JOSUNOS O} UOTOTUNWIUIOD [leur uospleqoy-Alusy Yio. SUIODH We) “wd 90:4 EZOS/LUL SUOTBOIUNUILIOZ JUSt[D - ADWOY
WOISISOp LNOS 31 UOWTYORYE jonpold OMM
YHA [OSUNOD O} UOTBOTUNWIWOS [IBUI, uosLeqoy-Aluapy Weg. suIOy ye] “wed SI:Z]1 €ZOZ/ET/L “UOHBOIUNUIWOD JUaT]D - ASIONWIS
UOISIOOp NOD 31 JUSTUYIeYe yonpoig SIO AK!
YUM JOsuNod 0} UOTROTUNUTWOS [IEW uosyeqoy-Aluepy Weg. suloyn we] “wed 96:9 EZ07/LUL SUOTVOUNUIWOD JUST] - kouony)4
UOISIOap HNO di JUSUTYORYye ponpold YOM
UPIM JaSUNOD 0} UOTWVOTUNUTUOD [Tew uosweqoy-MueH yo, suloy ye] “wd £679 EZOZ/LI/L SUONRITUNUITOD WdsT]D - sowonv
UOISIOap LNOd oJ JUSWIYyORHe PNpPolg YOM]
YUM [Ssunod 0} UOT}ROTUNTWOS [ew uosweqoy-AlUeH Ug. SUIOD We] “urd OP:9 EZOT/LUL SUONBOIUNUIOZ JUsl[D - AsWIONV
UOISINAap WNOd oJ JUSUTYORYB yonpolg x40 AE
YUM [aSUNOD O} UOHesTUNUIWOS [IEW uoswaqoy-Alusy] Ye. sulOy yey) urd LH€ EZOT/LU/L SUONRSIUNWIWIOD JUsTED - AsUIO WO
UOISIDap LiNOd a1 JUSHUTR JONPOA YIOA\ N
UM JaSUNOS O}] UONeSTUNUTUOD [Ie uosHeqoy-AIUsH Yieg.. SUIODN We] “wed OL:Z1L EZOT/TI/L SHOnRSIUNWIWOD jwaITD - ABUIO}y B
udIsIdap UNOS oJ JUSWTYORNe jNpolg YOM,
TIM JOSUNOD 0} UOTBOTUNUIWOD [Ie uosLaqoy-AIUsy Weg. suIOy ye] “Ud 60:L EZOZ/LI/L “UOMPOIUNUIWOD yuat[D - AsWO]}V
ssaooid SS
pue WO} YOO Yelp o1 juowmyoeye yONpolg FIOM,
YA [esunos 0} UOTeOTUNWIWOD [IeUT uosHaqoy-AlUueH Uqeg.. SUION ye] “ud BES EZOTZ/GL/L SHONBOTUNUIWUOD JUsT[D - AOWIO}TY
9
UNO} UOLL.SISO JO}OA YIP 31 JUWIYDE Ne JONPOLg YIOAA Bi
YUM JasuNOS WO UONBOIUNUIUOS [Tew SULOD YR QuseIH “YW Uaqoy| uospeqoy-AuuoZ ylog,| ‘urd pp €Z0Z/P1/9 SUONROTUNWWIOZD JsT[D - sowionyie
i
WHO} UONB.SISAl 19JOA YRIP 91 JUoUTYORye pOnpold poe
YM Jesunos WOT UOTROUNWWOS [IEW SUIOD YBPY oussIH “y Haqoy] uoswaqoy-Aruepy yiog,| “wed 9¢:71 €Z0Z/P 1/9 ‘HOHBOUNUIWOR 1UAl]D - ASWOITY A
WOO Werp a1 yuouryoeye yim jasunoo JONPOIg YO AA
0} pue WOX UOTROTUNUIWIOD [Tew Ppod MoIpUY,, (99 ‘sUIOH yARYy| UOsPeqoy-AruspH yjog,| “wd 87:7 €Z0Z/OZ/L SUONROUNUIWOD JUST[D - ABWIONY i

(PASTA) €707/50/60 80] oBoyIALIg [eUWa|ddng ,syuepuayoq
WuaT “C'W ‘O'S’ “6£010-A9-0Z:€ (ON ‘72 Ja aaT WILY ‘A 1D 12 dDVVN ay] fo aouasafuo_D aassauuay

G1 JO ZI aed

ystiojse Aq payeusisop oe jouuosiad yeSoy pue sAowiony

UO} UOTVISISAI 1OJOA

353

posodoid a1 syuouoeryye YIM Jasunod JONPOIg YAO AA
0} pue WO. UOIOTUNUIUOS [eWY Joyeg Areyoez7,| uosLeqoy-Aruey ylog,| “wed gp:Z1 €ZOZ/PI/L SuOnROIUNUIUOD Wwar]D - Asuony re
SULIOJ UOTIEISISOI ]
J9J0A O} SUOISIADI YIP 1 spUSTUAORYE yonpolg yo we
WIIM [eSUNOS WO UONLOIUNUIWIOD [Tew susan “W Leqoy}] uosplaqoy-Aquey ug,| “wd 10:7 €Z0Z/9/L SUOROTUNUWUOD Wel[D - Aowony e
siapio drysuezyio uo sync A
AJUNS 0} J9}}9] Yep oI JUoUYEeNe 0} s}Ipe IONPOIg WO A\o
WIM [asuNos Woy UoTeoTuNUIWOS [Tew I[@H pjeuog] uospegoy-Aruoy uog,| “wd g¢:9 CZOZ/OL/S SuOTEoTUNUIUIOD JUaT{D - Aewioyyyt7t
siapio diysuaziyid uo
SYNOD AJUNO 0} 19}}9] Yesp a1 JUsuTYR}e yONPOIg Y40 AN
WIM JasuNos 0} VONEOTUNUTUIOS [lew uosyoqoy-Alus}] Wied. IIeH prevog| “ure 01:8 €Z07/6/S SUOTBOTUNUIWIOD JUSI[D - ASWOITY hy
slapio diysusziyio uo s}No9 FS
AVUNOD 0} 19199] YeIP a1 JUOUTYSeNe 0} S}IPS yonpoig yop.
UM JasuNCS Woy UOTeoTUNUIWOS [IeUg SUIOD YR 299 {[[eH preuog] uospioqoy-Aluapz yog,| “wd ¢$:¢ €ZOZ/T/S SUOTFOTUNWIWIOT) WAT[D - ABUIOIY
siopio diysuaztio uo 4
synod AJUNOS 0} 19}}9] YeIp a1 JUSUTYORYe yonpord YOAS
YUM Jesunos 0] UOTEOTUNUITUOD [ew SUIOD WIRY] SUOsLaqoy-Aray Weg, TleH preuoq) ‘urd po:p €Z0Z/LZ/P ‘UONBOIUNUIWOD WOT[D - Aewoy yi!
siapio drysuaztyio uo yy
synod AJUNOD 0} 19319] Yep d1 UsUTYORYe pNpPold WOMB
WIM JosuNo oO} UOeOTUNWIUIOS [IeWA SUIOD We Suospoqoy-Aluapy yg. TleH preuoq! ‘wed ¢o:p €Z0Z/LZ/P SUOHROIUNUILUOD 1WAT[D - Aauion y=
Slapio diysuaziqio uO iL
SYNOD AjUNOD 0} 1949] YeIp o1 JuoWYeye ponpoig YOM
UJEM [esuNod 0} UOHeOTUNUUIOD IEW SUIOL Wel SUOsLaqoy-Aluapy Weg, TeH prevoq| ‘wd ppl €Z0Z/LZ/P SUOTROTUNWIUIOD ysITD - AAWOV p
siapio diysuazyio uo D
SLNOD AJUNOS O} 19}43] YRip a1 JUsUTYeyEe pNPOLY YO AA N
UJIM [9SUNOD 0} LOYOTUNUIUO [IEW SUIOH Wwe SUospaqoy-Alusy Weg. TeH prewoq) § ‘wre ZS: 11 €ZOZ/LZ/P SUOTTBOTUNWULUOD JUST[O - ADWIO]}V 5
SULIO}] UOILISISOI 190A Yesp yNpoig YOM
OI JUOWTYORYR YIM JOsUNOS Woy [ew Jayseg Areyoe7,| uospaqoy-Aiusy ujog,| “wd gp:Z1 €Z0Z/P 1/9 ‘uoneorunuNWO> wWe!]D - Aawony Bb
JoSory Jopuexayy,, ‘ueplor 5
SUOISSNOSIP JUSWATYOS 91 JUOUIYOR ye UME], 199 SUOSLaqoY-AIUEH] Weg, ‘SUIOH yONPOIg YO AA
YILM JOsUNOD O} UOTJBOTUNWUOS [TEU yey SuoueH seyIP, “Jayeg Areyoe7z,, suIOy yar] “wd 91:7 €ZOZ/TE/S SUOTBOIUNUIWIOD JUST[D - ABWIONY
JOST 2
SUOISSNOSIP JUSIUOTIIAS 91 JUSUIYOR YS Jopuexe[y,, ‘Ueplof UMBC], 190 SUOSLIEqoY yonpolg YOM
YIM Jesunoo Woy UONRoTUNWWOD [ew -AIUS] YJog,, UOULIEHY [seul SSUIOD yey Joyreg Areyoe7,| “urd €¢:1 €ZOZ/LE/S SUONBOTUNUIWOD JUaT[D - fawionye
UOJ YOO Yeup o1 Juowpoeye jonpolg yo
YUM JOsuNod O} UOIeOTUNUWOD [IeWUIq]  UOS}HOqOY-AIUOT] YJOg, 199 ‘soyoyulopy jours, SUIOD WR] “wd S177 €Z70Z/9T/9 ‘UOTBOTUNUIWIOD 1UaTTD - AUIOW YD
WLIO} bs
OLOE-SS 0) Wps pasodord o1 quawYoRNE JONPOIg OA,
YUM JasuNod 0} UOTeOTUNWIUIOD [lew SUIOD We] SuosLogoy-AMay Wed, sUdNIN “VW Meqoy] “wre CO:TI €Z0Z/9I/9 TUOTJBOTUNUIWUOD JUST[D - AOWONY i

wal ‘CW 'O'd'S'N ‘6£010-A9-0Z:€ ‘ON ‘72 12 aaT WILY “4 (10 12 dOVVN 2y] fo aouasafuoD aassauua]

(PESLASY) €ZOTZ/S0/60 B07] OBo[IALIg [eJUsWE|ddng syuRpueyoq

C
C1 JO €] aed

ystiojse Aq poyeudisap ose jouuosied [esa] pue sXauiony

st

M

uojouw juswspnf Arewums Y°

pue uorsanb ajisqom SOS oF sjuewyoRnE DOARIOJY UYOL yONpoLg xO Mp

YIM Jesunoo Woy voNeoruNtUIOS Jeu] {[]eH pyeuoq ‘ppog maipuy,, :99 ‘suasoy [Yd SUION WR] “Wd £0: €Z0Z/9Z/L SUOTFBOTUNWIWIOD IWSI[D - ASWOI} Y=

>

uoyow juswspnf Arewuins ©

pue uonsonb ayisqom SOS a1 sJUSUYOR}e ule[no>) MOIpPUY,, 139 Suospaqoy JONPOIg YOAIO

YPM [esuNod WOT UOTROTUNWIWOS [Tew -AIUDE] UO, A2APUlpy Joues,, SSUIOH WRIA Joyreg AreyoeZ,| “wd 90:1 €Z0Z/9Z/L SUOTOIUNUIWOD JUSTO - kouiony|

uonoul

quawispnf Arewruuns yep 31 UoMYSRyB yONpolg YIOM, 4

YJIM JaSUNOS 0} UOIROTUNTIWOS jreWIg JOVJUIOPy] ues, 109 SUOULRH [ORY SUIOD Ye, “We SPL €Z0Z/Z/8 SuoneoIUNWWOD jUAl[D - AsWO}} yD

uonOUL iO

yuouspnf Arewuuns yeip 31 yuowYoRye PONPOL YIOA\ i

YUM asUNOS WOT. UOTPOTUNUTOD [IeWY SUIOL) JIL UOUWMRL [PRYOIAL,| "WB ZE:01 €ZOT/Z/8 SUOTFBOTUNWIIOD USI[D - AOWIONY 5

UOHOU] UOSTIA “AA HOqoY,. ‘Ydjopmy “W piaeq,, uepsos iS

quowpnf Arewuruins yerp o1 juowYoeye}] ume, ‘AojsioWWEY dig, ‘welnog mopuy, yONpoLg 40 A

YUM JEsuNoS WIOY UOTeOTUNWIWOS [Tew 109 SUOUMIBY] [OVUIIIALy SIOyoyUulopyy jouer, Joypeg Areyoez,.| “We? ZL01 €Z0Z/Z/8 fuoneoruNWWOD yweT[D - AsUIOL WH

SUC} UONRYSISOI BR

19}0A 0] SUOISIADI YRIP 91 JUSWTYOR YR yonposd OM F=
URIM JosuNOS WOU UOTBOTUNUITUOD [Tew SUION YABJA 190 fousAIN "W Weqoy] uospieqoy-Aiusz] ueg,| “wed 96:71 €7Z0Z/P1/9 SUOTFBOTUNWUWIOD yWOT[D - ADUIO]ITV

WLIO} UONRIO}SAI LS

JO d1VOILI99 [POE-SS Yeap o1 JusuIoRye jonpold YOM

UUIM JOSUNOS WO UOTeOTUNUIOS [Lew JOIUlOpy youes,.|  wuosplaqgoy-Aluay yyog.| “wd go:€ €Z0Z/S1/9 SUONBOIUNUIWIOD JUaT[D - Aowony RO

SULIOJ UONRIYSISOI L

J9JOA 0] SUOISIAD YIP 1 JUOWIYOeNe JONPOIg YOM ©

YUM Jasunos Woy UOTyOTUNUTUIOS [Tew SUIOL) YJ] 109 faueaIH “y Heqoy| uosyoqoy-Aluay yieg,| ‘urd Zpip €Z0Z/P 1/9 ‘uoRBOTUNUIUOD JUar[D - Kamion WE

uLoy >

WOD O} SuUOIsIAsI YRIp o1 spusUYORNe JONPOL YOM, 5

Yj Jesunos Woy voTRoTUNUTUOD [ew

SUIOD WARY 100 fausain “y eqoy

uosLIaqoy-AluoH Weg,

‘urd LrZ1 €ZOZ/6U/L

SuoQRoTUNUIWOD WwAal]D - Aewony

WO}

LPOE-SS 0} SUOISIASI Yeup a1 sjuavaYORNe PNPOL YIOA\, B
YUM [esunos 0} UOTJBOTUNUIOD [IEW SULOD Ye Suospaqoy-ATUez ed. sUddIN “YW pagoy] "We ZZ: EZOZ/OZ/L “UOHBOTUNWUUIOD Wwe!{D - Aewon yt
7X9} WO} KK

6LOE-SS 0} SUOISIADL YRIP o1 sjugUIyORNe pnpoig yom |?
WIM JasUNOS 0} UOYEOTUNUTUOS [TeWA uospiaqoy-Aluayy uleg.. QUIAIH “VY Usqoy] “We ZZ:L1 EZOT/OT/L SuoTROTUNUIWOD JWwAaITD - AoWIONy 0
SULIO} UONPNSISAl N)

J9}0A 0} SUOISIADL RIP ai syuawORye PMNPOlg YOY eB
YA [OSUNOD 0} UOTJBOTUNWIWIOD [TEU uosaqoy-AlUsy yey BUdAIH “Y Moqoy; “We PIILL €ZOZ/L/L SUOTJBOTUNUTLOT) JUST]D - Aowony ss

(PestAcy) €Z07Z/S0/60 SOT SSaplALIg [eyuowe;ddng syuepusjoq
we] “CW "O'S. “6£010-A9-07:€ “ON “72 Ja aaT MITEL “A (70 18 dOVVN ay fo aouasafuon aassauua

$1 JO pl ade

ystioise Aq poreusisop ore jouuosisod yeSay pue sAouOy

LO
LO
9
UOSTIAA “AA HOQOY,, -Ydjopny Co
ssul[y pue “WW priaeq,, ‘uepsor ume, ‘Aa|ssowwey He
uonow yuowspnl Areununs o1 sjuouoeye dipiyg, ‘Wie[nod Mopuy, :99 ‘suIOH yONPOIg YIOA\
UJIM osuNoS WO UOIeOTUNUIUIOD [ew yey] SuouMey [evuplfA],, ‘laqayUlepy jouer, Joyreg Areyoez..| “wed 7Z:1 €Z0Z/E/8 SUOTROTUNUILIO| UWST[D - AOWIOIV S
oO
uonouw juewspnl Arewuins we[nod 5
pue uonsanb ayisgom SOS a1 sjusUIyoRye| =MOIPUY, :09 SUOseqoy-AIUSH Yog, ‘UOULe]Y yoNporg YOAV i
UIIM Jasunos WOR UOYeoTUNUIUIOS [ew JOBUOTAL,, oyoyulapyy jouer, ‘SuUIOD wel Joyseg Areyoer7,| ‘urd ¢p:Z% €Z0Z/9Z/L SUOTBOTUNUIWOD Wal]D - Asuo}}y |O
uoljow juswspnl Arewuins 3)
pue uonsonb ajisqam SOS al sjusuryoRye We[NOD MOIPUY,, 199 UOSIaqoy JNPOLY YOM, ee
YUM Jesunos WO UOTPOTUNUIUIO [Tew -AIUSE] YOG,, {SUION yey ‘royueg Areyoez,, Joyoyulopyy youes,| “wed €p:7 CZOZ/9T/L SuonROTUNWIIOD WATT - SeuoyyhL.
uonow juauspni]
ATEUUINS puke s}ISqaM SOS oI sjusuORNe yONpOIg YOM RO
UQIM JasuNOS WO UOTVOTUNUIWOS [IEW uosLaqoy-Alusy Wlog, ‘ppoq Morpuy,, Joyoyulapy yours.) “wed Tp:7 €ZOZ/9T/L SUOTFEOTUNWIWOD JWUAaT]D - ABWION WIS
UOHOW Juauspnl Kt
ATEUIUUINS PUe s]ISqaM SOS a1 syuaUIYyORNe yONpoig YOM C4
YJIM JOSUNOS WO UOTeoTUNUTUOS [Tew uos}Iaqoy-AIUSH YI, JOYOJUlopy youes,, ppog maipuy,| ‘wed [p:7 €ZOZ/9Z/L SUONROIUNWIWOD JUST[D - ASWIONWIO
uonow jusw3pnf Arewuns ee
pue uonsonb aj1sqom SOS a1 syusUIyORye yONpolg JOM
YJIM JosunOS WO UOTROTUNUIWOS [Tew ppod MeIpUy, 199 SsUIOD ye fs1aSOyY [Ud youeg Apny] ‘urd 6:7 €ZNZ/9Z/L SUOTBOTUNUIWIOD JUST[D - AoWIONY PP
i
uonow jusurspnf Arewuins SS
pure uonsonb azisqam SOS a1 sjuouryoRye yONpoIg YOM 5
YUM Jasunos WOY UOTeOTUNUIWIOS [ew SUION YR] = UOsaqoy-Asuey Weg,.| 9 ‘“wrd pril €Z0Z/9Z/L SUOTROTUNUIWIOD 1WUAl][D - Aewionw iE
uojow juewspnf Arewuins 8
pue uonsonb ayisqom SOS a1 syuouTyoRye we[nod MoIpuy,, ‘UOsLIaqoy pNpoig YOM
YJIM JOSUNOS WOR UOTeOTUNWIWOS [TEU] -ATUOE] UOG, ‘JaIJUlOpy jouer, 100 ‘suIOH yey Joyreg Areyoez,,| “urd ¢p:1 €Z0Z/9Z/L SUOTTROTUNWIWIOD JwUST[D - ADWONV
by)
uorow juswspnf Arewuins Ey
pue uonsenb ajisqom SOS a1 sjuouryoRye We]NOD MaIpPUy, ‘UOSLIoqoY-AIUapy yONPOIg YOM R
yum Jasunos Woy uoNeorunuTUOS [ew] «= jog, “Iayjapulopy youey,, 100 Llayreg Areyorz,, suIOy WR] = “Ul'd ZH] €Z0Z/9Z/L SUOROIUNUILHOZ) JUST[D - ADWIO]FY OG
>
uonow juowspnf Arewuns ES
pue uonsonb axisqam SOS al sjusuTyoRye JONPOIY YAO AA ID
UUM JasuNoS WOU UOTeoTUNWWIOD [Tew youeg Apny siasoy [Md] “urd O€:1 EZOZ/9Z/L SUONBOTUNUIWUOD JUST{D - fowony |

wus “CIN “O'd'S'N ‘“6£010-A9-0Z:€ “ON ‘ 7) Ja aaT WIT “4 ‘JO 18 DVN ayi fo aouasafuoD aassauua J

(Peslae¥) €Z0Z/S0/60 30] eBe[1 Al Ig [eWuowe|ddng ,sjuepuayoq

C1 Joc] ase

ysitojse Aq poyeuSisop ose jouuosiad jeSay pue sAaony

oO
wo
C9
co
tf
QO
o
oD)
oO
oO
oO
od
_—
oO
wo
od
o
oD)
oO
oO .
C9
N
—
oO
od
—
od
od
TO
®
i
°
oO
oO
N
e
o
e
3
Oo
Oo
a
oO
Cc
oO
a
oO
>
°
UOSTIM “AA HOgoY, -ydjopny RI
sured Aq Surpy W plaed,, ‘Ueplos UMBC, ‘Ad[SIOWUWIeEY by
uoyow juourspnf Areuruins oJ sjuouryoeye dipyd, ‘weynog moripuy, 99 ‘sulor yonpoig YOM wD
UUM Jasunod WO UOYROTUNUUION [IEW YAR] SUOUMIEL] [OeUdIPAL,, ‘JOIOTUlepy jouer, Joyieg Areyoe7,|) “We p1'6 €Z0Z/P/8 SUOTPROTUNUAWIOD JUST[D - AOWIONV Ke

(pestAey) €707Z/S0/60 307] eBaT1ALIg [eIUaWa[ddng syuepuazoq]
wus] “CIN “O'C'S'D “6£010-A0-07:€ “ON “72 12 287 MOIITLY, “A “PO 12 COVWN ay) fo eouasafuog aassouuay

Cc
Defendant Supplemental Privilege Log — Index

Tre Hargett, Tennessee Secretary of State
Mark Goins, Coordinator of Elections, Division of Elections, Tennessee Secretary of State

Beth Henry-Robertson, Assistant Coordinator of Elections, Division of Elections, Tennessee
Secretary of State; Division of Elections attorney

Michael Harmon, General Counsel, Tennessee Secretary of State; SOS attorney
Janet Kleinfelter, Special Counsel, Tennessee Secretary of State; SOS attorney

Andrew Dodd, HAVA Attorney, Division of Elections, Tennessee Secretary of State; Division of
Elections attorney

Donald J. Hall, Elections Assistant, Division of Elections, Tennessee Secretary of State
Robert Greene, Director of Publications, Tennessee Secretary of State

Julia Bruck, Director of Communications, Tennessee Secretary of State

Phil Rogers, Director of Information Technology, Tennessee Secretary of State

John Moravec, Assistant Director of Information Technology, Tennessee Secretary of State
Rudy Bennett, Lead Developer, Division of Information Technology, State of Tennessee

Jen Brenner, General Counsel, Tennessee Department of Correction; TDOC attorney

Defense Counsel for Tennessee Attorney General’s Office: Zachary Barker; Andrew Coulam;
Dawn Jordan; David Rudolph; Robert Wilson; Alexander Rieger; Pablo Varela; James P.
Urban; Philip Hammersley

Case 3:20-cv-01039 Document 200-9 Filed 11/16/23. Page 16 of 16 PagelD #: 3357
